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               IN THE UNITED STATES DISTRICT COURT
            FOR THE WESTERN DISTRICT OF PENNSYLVANIA
  DEIDRA HUBAY, et al.                         )
                                               )
                   Plaintiffs,                 )
                                               )      2:19-cv-01327-NR
           vs.                                 )
                                               )
                                               )
  JANELLE MARINA MENDEZ, et al.                )
                                               )
                   Defendants.                 )
                                       ORDER
      Based on its review of the parties’ filings and Defendants’ letter at ECF
64, the Court wishes to clarify the following matters:
      1.         Defendants’ letter argues that the Court should not consider
certain documents and a witness declaration that were not presented during
the preliminary injunction hearing.         The Court does not require further
briefing on this issue, as it does not intend to consider any evidence that was
not presented during the hearing. In deciding the pending motions, the Court
will rely solely on the jointly submitted exhibits, the hearing transcript, and
its own recollection of the testimony & evidence presented at the hearing. To
the extent any evidence or testimony was not submitted during (or
immediately after) the hearing, it will not be considered.
      2.         Defendants’ letter also argues that Plaintiffs did not comply with
the page-limits the Court imposed on post-hearing briefs. The Court construes
this portion of the letter as a motion to strike. The parties are ordered to confer
and notify the Court on or before June 23, 2020 if a resolution is reached. If
the parties cannot agree, Plaintiffs may respond by June 23, 2020.
      3.         To provide the parties with guidance when conferring with respect
to (2), the Court clarifies that it originally contemplated that each party would
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submit a brief or memorandum, not to exceed 20 pages, containing legal
argument, along with a separate set of proposed findings-of-fact / conclusions-
of-law that, while not page-limited, would consist only of specific, enumerated
findings that the parties wished the Court to make with respect to the relevant
factual and legal issues. Thus, it appears neither party has done exactly as
the Court anticipated—neither party has filed a brief, Defendants filed
findings-of-fact / conclusions-of-law limited to the page-limit applicable to
briefs, and Plaintiffs filed findings-of-fact / conclusions-of-law that were not
limited to the brief page-limit.
      As a result, the Court encourages the parties to resolve the issue raised
in Defendants’ letter by agreeing on a format, page-limit, and timeline for
either party to supplement or amend its filing, if it so desires, in any manner
that they believe will result in their arguments being presented on an equal
footing. The Court will not require any particular format, so long as the parties
agree that it is fair.

Date: June 16, 2020                              BY THE COURT:

                                                 /s/ J. Nicholas Ranjan
                                                 United States District Judge




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